     Case: 1:19-cr-00669 Document
                     IN THE UNITED#: STATES
                                     69 Filed:DISTRICT
                                              12/05/19 Page 1 of 1 PageID #:325
                                                        COURT
                                     FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

USA,


Plaintiff(s),
                                                  Case No. 19 CR 669-2
v.                                                Judge Edmond E. Chang

Michael Nowak,

Defendant(s).

                                        ORDER

Arraignment held on the Superseding Indictment and status hearing held.
Defendant acknowledged receipt of a copy of the Superseding Indictment, waived
formal reading, and entered a plea of not guilty to the Superseding Indictment. Any
legal challenges to the Superseding Indictment that is not dependent on discovery
shall be filed by 02/28/2020. Government’s response due by 04/13/2020. Defense
reply due by 05/13/2020. Defendants will be cooperating to file a joint motion with
individual parts as needed. Any other Rule 12 or Rule 16 pretrial motions due by
04/24/2020. The government’s response will be set at a later date. Status hearing
set for 03/03/2020 at 10:00 a.m. At the next status hearing, the Court will set a trial
date so that a time block is set aside; the parties shall confer on possible trial dates.
The government reported that the production is now at 19.9 million pages (from the
prior 17 million) and that, although documents are still provided from time to time
from JP Morgan Chase, there is no specific category of records yet to be received.
The defense oral motion for early return of trial subpoenas is granted equally for all
parties. Pursuant to 18 U.S.C. 3161(h)(7)(A) and (B), and without objection, time is
excluded from 12/05/2019 through 03/03/2020 under the Speedy Trial Act to allow
counsel and defendants the time to review discovery and to file the legal-challenge
motion. As stated on the record, Defendant does not need preapproval to travel
within the continental United States. The government and defense attorney David
Meister presented a potential dispute over the impact of Meister’s former role as
director of the CFTC’s Enforcement Division. By 01/10/2020, the government shall
file a motion to disqualify counsel (or an agreed motion of some sort) concerning
Meister’s continued representation. Meister’s response due by 02/10/2020. The
government’s reply due by 02/24/2020. If Defendant disputes the motion to
disqualify, then Defendant shall personally appear with counsel at the next status
hearing on 03/03/2020 at 10:00 a.m., in case something along the lines of a Rule 44
colloquy is needed. After the hearing, Pretrial Services reported to the courtroom
deputy that the New Jersey Pretrial Services Office will not retain Defendant’s
passport. So the NDIL Pretrial Service Office shall receive the passport.

(T:0:15)

Date: 12/5/2019
                                                Edmond E. Chang
                                                United States District Court Judge
